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 1                                                       HONORABLE JOHN C. COUGHENOUR
                                                        HONORABLE MICHELLE L. PETERSON
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 7
                               UNITED STATES DISTRICT COURT
 8                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9
       JAMES MOSELEY,                                    NO. C20-1311-JCC-MLP
10
                                 Plaintiff,              DEFENDANTS’ RESPONSE TO
11                                                       ORDER TO SHOW CAUSE WITH
                     v.                                  SUBJOINED DECLARATION OF
12                                                       COUNSEL
      STATE OF WASHINGTON; et al.,
13
                                 Defendants.
14

15          COME NOW the Defendants, by and through counsel, and offer the following response to

16   the Court’s Order to Show Cause. (Dkt. #7).

17          1.      Discussions with Counsel regarding Removal and Waivers of Service

18          As reflected in the Court’s files, Plaintiff filed this action in the Snohomish County Superior

19   Court on July 24, 2020. (Dkt. #1-1). Counsel undersigned appeared in behalf of the Defendants on

20   August 24, 2020. (Dkt. #6-4). Counsel undersigned thereafter filed a Notice of Removal on

21   September 1, 2020. (Dkt. #1).

22          Counsel undersigned spoke with Plaintiff’s counsel before removing this action to the U.S.

23   District Court. Counsel undersigned wanted to advise Plaintiff’s counsel of the intention to remove

24   the case and inquired whether any of the individual defendants had yet been served. Plaintiff’s

25   counsel advised counsel undersigned that none of the individual defendant had yet been served.

26   Counsel undersigned advised that individual defendants would consider waiver of service after the


     DEFS.’ RESPONSE TO ORDER TO                   1                    ATTORNEY GENERAL OF WASHINGTON
                                                                                     Torts Division
     SHOW CAUSE W/ SUBJOINED                                                 800 Fifth Avenue, Suite 2000
     DEC. OF COUNSEL                                                           Seattle, WA 98104-3188
     (C20-1311-JCC-MLP)                                                             (206) 464-7352
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 1   case had been removed and specifically advised that an emailed request for waiver of service would
 2   be deemed sufficient.
 3            2.     Waivers of Service Requested after Order to Show Cause
 4            Counsel undersigned and Plaintiff’s counsel have been involved in several cases together
 5   of the years and have multiple cases now pending. Between the time of removal and the Court’s
 6   issuing its Order to Show Cause, Plaintiff’s counsel did not request waiver of service from the
 7   individual defendants. Further, Plaintiff did not provide notice of any intent to file a motion for
 8   default, Fed. R. Civ. P. 55 and LCR 55, or file such a motion before the Court issued its Order to
 9   Show Cause sua sponte.
10            On Friday, January 22, 2021, two days after the Court issued it Order to Show Cause,
11   counsel undersigned and Plaintiff’s counsel exchanged emails regarding the Court’s Order and the
12   status of the individual defendants. That same day, Plaintiff’s counsel emailed counsel undersigned
13   requesting the individual defendants waive service of process under the federal rules as simplified
14   by their agreement. On Monday, January 25, 2021, counsel undersigned forwarded completed
15   Waivers of the Service of Summons by nine of the twelve individual defendants to Plaintiff’s
16   counsel via email. Under the federal rules, the remaining three individual defendants still have more
17   than three weeks before they must respond to Plaintiff’s counsel’s request for waiver of service.
18            3.     Defendant Department of Corrections’ Answer
19            Counsel undersigned has been practicing civil litigation for nearly 25 years. It has not been
20   his practice to file multiple answers when representing multiple defendants. In this specific case,
21   counsel undersigned anticipated filing a single Answer to Plaintiff’s Complaint once the individual
22   defendants were properly before the Court. That had not happened as of the time the Court issued
23   its Order to Show Cause. Moreover, had Plaintiff’s counsel requested the Washington Department
24   of Corrections file an Answer, counsel undersigned would have done so. Plaintiff’s counsel did not
25   do so.
26


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 1          Pursuant to Fed. R. Civ. P. 4(d)(3), the individual defendants who waive service have sixty
 2   days after the request to waive service was made—January 22, 2021—to Answer. Nevertheless, in
 3   light of the Court’s Order to Show Cause, counsel undersigned will file an Answer on behalf of
 4   Defendant Washington Department of Corrections prior to February 2, 2021, the deadline imposed
 5   by the Court’s Order to show cause why default should not be entered.
 6                                            CONCLUSION
 7          For the reasons set forth herein, including the lack of service or request for waiver of service
 8   by the individual defendants prior to the Order to Show Case, and the intention of counsel
 9   undersigned to file a single Answer once all defendants had been served or waived service, the
10   Defendants submit they have shown cause why they have not answered and shown cause why the
11   Court should not, sua sponte, enter default against the defendants.
12          SIGNED THIS 26th day of January, 2021.
13                                                ROBERT W. FERGUSON
                                                  Attorney General
14

15                                                 s/ Scott M. Barbara
                                                  SCOTT M. BARBARA, WSBA No. 20885
16                                                OID #91019
                                                  Assistant Attorney General
17                                                800 Fifth Ave, Ste 2000
                                                  Seattle, WA 98104
18                                                Tel: (206) 464-7352
                                                  Fax: (206) 587-4229
19                                                Email: scott.barbara@atg.wa.gov
                                                  Attorneys for Defendants
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 1                                   DECLARATION OF COUNSEL
 2          SCOTT M. BARBARA hereby declares as follows:
 3          1.      I am over the age of 18 years and competent to act as a witness herein. Unless
 4   otherwise specified, the matters set forth herein are within my personal knowledge. I am counsel of
 5   record for the Defendants in this action.
 6          2.      I have been a licensed attorney in Washington State since 1991. After completing
 7   an active duty tour as a member of the US Air Force Judge Advocate General’s Corps from
 8   1991-1996, I began practicing civil litigation in the Seattle area. I have been admitted to practice
 9   before the United States District Court for the Western District of Washington since 1996, and I
10   have been admitted to practice in the Court of Appeals for the Ninth Circuit since 1997. I have
11   been employed by the Washington Attorney General’s Office since August 2016, and I have
12   been the Seattle Section Chief for the Torts Division since July 2019.
13          3.      The factual matters set forth above in the Response to the Order to Show Cause
14   are all true and correct to the best of my knowledge, recollection, and belief.
15          I declare under penalty of perjury that the foregoing is true and correct to the best of my
16   knowledge, belief, and recollection.
17          SIGNED THIS 26th day of January, 2021, at Federal Way, Washington.
18
                                                       s/ Scott M. Barbara
19                                                    SCOTT M. BARBARA, WSBA No. 20885
                                                      Attorney for Defendants
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 1                                  DECLARATION OF SERVICE

 2          I hereby declare that on this 26th day of January, 2021, I caused the foregoing document

 3   to be electronically filed with the Clerk of the Court using the CM/ECF system, which will send

 4   notification of such filing to the following CM/ECF participants:

 5
            Darryl Parker
 6          Civil Rights Justice Center, PLLC
            2150 North 107th Street, Ste 520
 7
            Seattle, WA 98133
 8          dparker@civilrightsjusticecenter.com
            adiaz@civilrightsjusticecenter.com
 9          apark@civilrightsjusticecenter.com
            jhenderson@civilrightsjusticecenter.com
10          kbasu@civilrightsjusticecenter.com
11          pandrews@civilrightsjusticecenter.com

12
            I declare under penalty of perjury that the foregoing is true and correct.
13
                                                   s/ Scott M. Barbara
14                                                SCOTT M. BARBARA, WSBA No. 20885
                                                  Email: scott.barbara@atg.wa.gov
15                                                Attorney for Defendants

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       DEFS.’ RESPONSE TO ORDER TO                        3                ATTORNEY GENERAL OF WASHINGTON
                                                                                        Torts Division
       SHOW CAUSE W/ SUBJOINED DEC. OF                                          800 Fifth Avenue, Suite 2000
       COUNSEL                                                                    Seattle, WA 98104-3188
       (C20-1311-JCC-MLP)                                                              (206) 464-7352
